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 1   TRACY L. WILKISON
     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     RANEE A. KATZENSTEIN (Cal. Bar No. 187111)
 4   Assistant United States Attorney
     Chief, Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-2432
 7        Facsimile: (213) 894-6269
          Email: Ranee.Katzenstein@usdoj.gov
 8

 9   BRETT A. SAGEL (Cal. Bar No. 243918)
     Assistant United States Attorney
10        Ronald Reagan Federal Building
          411 West Fourth Street, Suite 8000
11        Santa Ana, California 92701
          Telephone: (714) 338-3598
12        Facsimile: (714) 338-3708
          Email:      Brett.Sagel@usdoj.gov
13
     Attorneys for Plaintiff
14   UNITED STATES OF AMERICA

15                            UNITED STATES DISTRICT COURT

16                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

17   UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS

18              Plaintiff,                     GOVERNMENT’S OPPOSITION TO
                                               DEFENDANT’S EX PARTE APPLICATION
19                    v.                       FOR AN ORDER PERMITTING THE
                                               PRIVILEGE REVIEW TEAM TO PROVIDE
20   MICHAEL JOHN AVENATTI,                    MATERIALS TO DEFENDANT (CR 903)

21              Defendant.

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23

24         Plaintiff United States of America, by and through its counsel

25   of record, the United States Attorney for the Central District of

26   California and Assistant United States Attorneys Brett A. Sagel and

27   Ranee A. Katzenstein, hereby submits the following opposition to

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 1   defendant’s ex parte application for an Order permitting the

 2   Privilege Review Team to provide materials to defendant (CR 903).

 3         This Opposition is based upon the attached memorandum of points

 4   and authorities, the files and records in this case, and such further

 5   evidence and argument as the Court may permit.

 6    Dated: January 19, 2022              Respectfully submitted,

 7                                         TRACY L. WILKISON
                                           United States Attorney
 8
                                           SCOTT M. GARRINGER
 9                                         Assistant United States Attorney
                                           Chief, Criminal Division
10

11                                               /s/
                                           BRETT A. SAGEL
12                                         RANEE A. KATZENSTEIN
                                           Assistant United States Attorneys
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                                           Attorneys for Plaintiff
14                                         UNITED STATES OF AMERICA
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.    INTRODUCTION

 3         Despite having a copy of the EA servers since September 2021 and

 4   having an upcoming trial in the Southern District of New York

 5   relating to a client who is not at issue in the case pending in this

 6   district (Stephanie Clifford), United States v. Avenatti, 19-00374-

 7   JMF (S.D.N.Y.) (“SDNY matter”), on January 14, 2022, defendant filed

 8   an ex parte application in this district related to material

 9   potentially relevant to the SDNY matter, after jury questionnaires

10   had already been completed in the SDNY matter.           Defendant filed

11   numerous pre-trial motions and raised numerous other issues at

12   various hearings in his SDNY matter, but only decided to seek

13   “relief” in this district at the last minute and notwithstanding the

14   fact that the issue he raises pertains to the case pending before the

15   Honorable Jesse M. Furman, District Court Judge in the Southern

16   District of New York, and not to the case pending here.            This Court

17   is without jurisdiction to address discovery issues in the SDNY

18   matter, which are properly presented to the judge presiding over that

19   matter.    The Court should reject defendant’s current application,

20   which defendant can present to Judge Furman to determine whether

21   defendant is entitled to any relief.

22   II.   ARGUMENT

23         Defendant’s current application is not only filed at the

24   eleventh hour, but it also presents misleading and inaccurate

25   information to the Court.       Moreover, defendant’s declaration further

26   establishes why the issue he seeks to present to this Court should be

27   presented to Judge Furman in the SDNY.

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 1           First, defendant’s application is completely silent on why -- if

 2   the material is “critical” as defendant claims (CR 903 at 2) -- he

 3   waited four months to seek assistance from the government (and/or the

 4   Court) to obtain it.      Although defendant claims his computer expert

 5   encountered “technical issues” and spent “considerable time and

 6   effort” on the matter (id.), there is no declaration from said expert

 7   or any information from the expert supporting said claim from

 8   defendant.    Defendant’s tactical decision does not create an

 9   emergency for this Court to address what should have -- and easily

10   could have -- been addressed by Judge Furman over the last four

11   months.1

12           Second, defendant claims he needs the information for his
13   defense and to respond to a subpoena recently issued by the
14   government in the SDNY matter.        (Id.)   The government in this case
15   has limited knowledge of the SDNY matter, but from its understanding,
16   there has been considerable litigation regarding the scope of the
17   evidence to be introduced as well as litigation regarding the
18   subpoena and its requirements.        For these reasons as well, the Court
19   should require defendant to raise this issue with Judge Furman who

20   can properly assess what is required based on prior rulings in that

21   case.

22           Further, defendant’s presentation of this issue to this Court

23   rather than to Judge Furman risks inconsistent rulings.            It also

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            As Judge Furman noted in a minute order issued on January 7,
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26   2022, “Defendant has had the servers since September 2021. Although
     the volume of materials on the servers may be large, four months is
27   ample time to prepare for trial . . given, among other things,
     Defendant’s own knowledge of what is on the servers and the tools
28   available to search and review electronic data.” (DKT No. 213 in SDNY
     matter).
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 1   affords defendant an opportunity for gamesmanship.           Indeed, the

 2   government understands that defendant (through counsel in the SDNY

 3   matter) stated that any materials defendant would receive from the EA

 4   servers would be produced to the government as well, but defendant’s

 5   current application specifically states to the contrary: “the

 6   information in the Clifford Folders contains work product belonging

 7   to defendant and therefore cannot wholesale be turned over to the

 8   prosecutors in New York.”       (CR 903 at 4.)

 9         Third, defendant’s application includes misleading and false

10   statements about the PRT and the search warrant to support his

11   efforts to persuade this Court to issue his proposed order.             For

12   example, defendant, citing paragraph 12 of the search warrant’s

13   Attachment B, claims “the PRT and the investigative team do have

14   access to the materials related to Ms. Clifford,” and points to

15   financial documents and data relating to Ms. Clifford produced in

16   discovery.    The warrant specifically provided that the exclusion of

17   material relating to Ms. Clifford exempted certain financial data --

18   as defendant is facing a host of tax related offenses, but

19   specifically excludes other materials relating to Ms. Clifford (19-

20   mj-419, Doc 4 ¶¶ 1.p, 12).2       Ms. Clifford’s FileSite folders clearly

21   would not fall within the warrant, but defendant ignores this fact

22   and attempts to conflate all the Clifford material in his request.

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           2Paragraph 1.p. of Attachment B includes the following
25   (emphasis added): “Records, documents, programs, applications, or
     materials from January 2011 through March 25, 2019, relating to
26   attorneys’ fees or costs earned or collected by EA LLP, A&A, and/or
     AVENATTI, including attorney-client fee contracts, engagement
27   letters, fee agreements, cost-sharing agreements, fee-sharing
     agreements, settlement agreements, and client billing records, but
28   excluding any such records relating to the representations of
     Stephanie Clifford or Julie Swetnick.”
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 1   Moreover, defendant cites to correspondence he had with the PRT in

 2   September 2019 (CR 903 at 2), that he just filed two days prior to

 3   this application, but conspicuously leaves out the letter referenced

 4   in the correspondence detailing why the PRT would not produce the

 5   Stephanie Clifford folders (CR 902 at 15).          Defendant has known for

 6   well over two years of the folders’ existence, yet made no effort in

 7   his SDNY matter or before this Court to gain any access.

 8         Finally, defendant’s claim that the PRT does not have an

 9   objection (id. at 2), is misleading at best.          The prosecution team

10   understands that the PRT team told defendant that they have no

11   authority to provide such material and can only act upon court

12   authority.    Taking no position because they have no real authority to

13   do so is hardly “having no objection.”3

14   III. CONCLUSION
15         This Court should deny defendant’s request and require defendant
16   to seek relief, if he chooses, in the Southern District of New York.
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27         3Defendant’s application and proposed order seeks an order that
     the PRT “is permitted to provide” the materials sought by defendant;
28   the PRT will not provide anything short of a court order requiring it
     to do so.
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